Case o-25-/2495-reg Voc ¢/U-1 FnuedUllore4s Entered Ol/1lO/24 Lois4ily

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

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In Re: Chapter 11
Sprout Mortgage, LLC, Case No. 823-72433-A736
Debtor. Affidavit
--X

Shea Pallante, being duly sworn, deposes and says:

1, I am the movant herein and I make this Affidavit in Support of my Application
for entry of an Order: (a) granting relief from the terms of the Bankruptcy Court Order of
December 1, 2023 and Judgment, pursuant to Bankruptcy Rule 9024 and Federal Rule of Civil
Procedure 60(b); and (b) such other and further relief as this Court deems just and proper.

2. I adopt all the statements and arguments asserted by my counsel in the within
Application annexed to this Motion.

3. Unbeknownst to me, the Court entered an Order on August 29, 2023
authorizing Allan B. Mendelsohn, the Chapter 11 Operating Trustee (the “Trustee”) to serve a
Subpoena upon me directing me to provide documents and directing me to appear for an oral
deposition.

4, I did not respond to the Subpoena authorized by the Bankruptcy Court Order
of August 29, 2023.

5. Unbeknownst to me, the Court entered an Order on October 30, 2023
directing me to produce those documents demanded in the Subpoena no later than November 6,

2023 and to appear for an oral deposition on November 14, 2023.
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6, I did not respond to the Bankruptcy Court Order of October 30, 2023,

7. As aresult of my non-compliance, the Bankruptcy Court entered an Order
on December 1, 2023 (the “December Ist Order”) holding me in contempt for my failure to comply
with prior Orders of the Court, The December Ist Order also provided that I would be sanctioned
in the amount of $500.00 per day, retroactive fo October 30, 2023, until such time as I complied
with the prior Orders of the Court.

8. Inever learned about the entry of the December 1st Order or the prior Order
until December 5, 2023 when I received a message from my employer’s corporate office in New
Jersey that Carolyn Pisciotta, an employee of Trustee’s counsel, had left a voice mail in the general
mailbox of the corporate office of my employer located in New Jersey. On December 5, 2023 |
spoke with Trustee’s counsel, Fred Kantrow. It was then that I learned of the December 1st Order,
the August 29th Order granting the Trustee’s Rule 2004 examination and Subpoena and the
October 30th Order. I received the Orders and the Subpoena from Mr. Kantrow on December 5,
2023. A copy of the e-mail from Fred Kantrow, Esq. is annexed as Exhibit “C.”

9. In reviewing the Affidavit of Service for the August 29th Order and
Subpoena, I noticed that it was mailed to me at the address of 3001 Leaden Hall Road, Suite 301,
Mount Laurel, New Jersey 08054 (the “New Jersey Address”). This is the address for ARC’s
corporate office. The New Jersey Address is not a proper address for me, in that I do not have any
physical presence in that location. I work for ARC remotely at my own personal office address of
3401 Mallory Lane, Franklin, TN 37067 (the “Franklin Address”). I have had this personal office
at the Franklin Address since May 2022, The Affidavit of Service of the August 29th Order and

Subpoena is annexed hereto as Exhibit “D.”
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10. In reviewing the Affidavit of Service for the October 30th Order, I noticed
that it was also mailed to me at the New Jersey Address. The Affidavit of Service of the October
30th Order is annexed hereto as Exhibit “E.”

11. In reviewing the Affidavit of Service for the December Ist Order, it was
mailed to me at the New Jersey Address and the address of 613 Vickery Park Drive, Nolensville,
TN 37135 (the “Vickery Park Address”). The Vickery Park Address was a prior residence of
mine, which I left in July 2023. Since July 2023, I have been residing at Waller Road in
Brentwood, Tennessee. The Affidavit of Service of the December lst Order is annexed hereto as
Exhibit “F.”

12. As aforementioned, but for the voice message from an employee of Trustee’s
counsel to the general voice mail box at my employer’s corporate office at the New Jersey Address,
I never would have learned about the August 29th Order and Subpoena, the October 30th Order or
the December Ist Order entered against me by the Bankruptcy Court in this proceeding.

13. Once I received the e-mail from Trustee’s counsel on December 5, 2023
enclosing the December Ist Order and other prior Orders of this Court, I immediately took the
necessary steps to resolve the situation, which had veered out control through no intentional fault of
my own.

14. Once I received the December 1st Order, I contacted Trustee’s counsel and
advised Mr. Kantrow that I would be gathering the documents responsive to the Subpoena and
retain counsel for the purpose of otherwise responding to the Trustee’s Subpoena and submitting

to a Rule 2004 examination.
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15. I retained counsel on December 19, 2023 and my counsel served my
responses to the Subpoena on December 21, 2023 and appeared for the Rule 2004 examination on
January 4, 2024. I was ready to appear at any date after December 25, 2023, but the Trustee’s
counsel was not available until January 4, 2024.

16, — | have now fully complied with the Order for a Rule 2004 examination and
Subpoena. I answered every question posed by Trustee’s counsel and did not withhold any
documents.

17. The reason for my prior non-compliance is excuseable. Quite simply, I was
never served with the August 29th Order and Subpoena, the October 30th Order or the December Ist
Order. Had I been, I would have immediately cooperated with the Trustee’s counsel. I never would
have acted in any manner which would place me in a calumnious light with this Court. Moreover,
once I learned of the outstanding demands against me, I immediately took steps to rectify the situation.

18. Notwithstanding the fact that I have complied with the Rule 2004 Order and
Subpoena, the Trustee’s counsel sought and obtained a money judgment against me in the sum of
$33,000.00,

19.  Inlight of the fact that the reason for my neglect was excuseable, in that I had
not received the August 29th Order and Subpoena nor October 30th Order, I respectfully request that
the December 1st Order be modified to reflect that my contempt has been satisfactorily purged
without the need for monetary sanctions imposed against me and the Judgment be vacated.

WHEREFORE, I respectfully request that this honorable Court grant my
Application for the entry of an Order: (a) granting Shea Pallante relief from the terms of the

Bankruptcy Court Order of December 1, 2023 and vacate the Judgment, pursuant to Bankruptcy
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Rule 9024 and Federal Rule of Civil Procedure 60(b); and (b) such other and further relief as this

Court deems just and proper.
‘Shea C—
Sworn to: before me this
jo’ day of January, 2024.

TOTARY PUBLIC
Exp: 4/14/2025 ok,

